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13

14
                         UNITED STATES DISTRICT COURT
15

16
                       CENTRAL DISTRICT OF CALIFORNIA

17

18
                                     )
     LFP IP, LLC,                    )     Case No.: cv 16-166 FFM
19
                                     )
                                     )
20                     Plaintiff,    )     The Hon. Frederick F. Mumm
                                     )
21
                                     )
     vs.                             )     [Proposed] FINAL PRETRIAL
22
                                     )     CONFERENCE ORDER
                                     )
23
     LEE KEITH BRETT,                )
                                     )
24
                                     )
                                     )     Final Status Conference: September 13,
25
                                     )     2018
                                     )
                       Defendant.    )
26
                                     )     First Day of Trial: October 2, 2018
27
                                     )
                                     )
28
                                     )
                                     )
                                     )

                         FINAL PRETRIAL CONFERENCE ORDER
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 1
           Following pretrial proceedings, pursuant to F.R.Civ.P. 16 and L.R. 16, IT IS
 2
     ORDERED:
 3

 4          1.    The parties are:      P l a i n t i f f LFP IP, LLC (“Plaintiff”), and
 5
      Defendant Lee Keith Brett (“Defendant”).
 6

 7                Each of these parties has been served and has appeared. All other
 8
     parties named in the pleadings and not identified in the preceding paragraph are
 9

10
     now dismissed.

11
                  The pleadings which raise the issues are:
12

13                The Complaint filed by Plaintiff on January 8, 2016 (Doc. 1);
14

15
                  and
16
                  the Answer filed by Defendant on August 3, 2016 (Doc. 23)
17

18

19

20          2.    Federal jurisdiction and venue are invoked upon the grounds:
21
      Plaintiff seeks injunctive relief under 15 U.S.C. § 1051, et seq. (the “Lanham
22
      Act”), and this Court has subject matter jurisdiction of this action pursuant to 28
23

24    U.S.C. §§ 1331; 1332; 1338 and 1367; 15 U.S.C. § 1125(a); and 15 U.S.C. §
25
      1121. Venue is proper pursuant to 28 U.S.C. §§ 1391 (b) and (c).
26

27

28
            3.    The trial is estimated to take 2 trial days.


                          FINAL PRETRIAL CONFERENCE ORDER
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 1

 2            4.   The trial is to be a non-jury trial.
 3
              At least seven (7) days prior to the trial date the parties shall file and serve
 4

 5
     by e-mail, fax or personal delivery the findings of fact and conclusions of law the
 6
     party expects the Court to make upon proof at the time of trial required by L.R.
 7
     52-1.
 8

 9

10
              5.   The following facts are admitted and require no proof:
11

12

13
             (1)   Plaintiff LFP IP, LLC (“Plaintiff”) is a Delaware limited liability
14

15
             company authorized to do business in the State of California.

16

17
             (2)   Plaintiff is the owner of a HUSTLER trademark that was registered
18

19           on February 25, 2003 for “clothing, namely, beach wear, blouses, coats,
20
             coveralls, dresses, head wear, jackets, jeans, jogging suits, jumpers, leg
21

22
             warmers, leggings, lingerie, lounge wear, neckwear, pants, scarves, shirts,
23           ski wear, slacks, sleep wear, tank tops, socks, vests” in International Class
24
             25 (U.S. Reg. No. 2689852).
25

26

27
             (3)   Plaintiff is the owner of a HUSTLER HOLLYWOOD service mark
28




                            FINAL PRETRIAL CONFERENCE ORDER
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 1
           that was registered on April 2, 2013 for “[r]etail store services featuring
 2
           digital video discs, adult sexual stimulation aids, apparel, lingerie, hats,
 3

 4         cosmetics, candles, perfumes, shave creams, bath and body products,
 5
           personal lubricants, body creams, novelty items, party games, playing
 6

 7         cards, candies, jewelry, books, magazines, condoms, and lotions” in
 8
           International Class 35 (U.S. Reg. 4312312).
 9

10

11         (4)   Plaintiff is the owner of a HUSTLER trademark that was registered
12
           on May 20, 1975 for “entertainment magazine” in International Class 16
13

14         (U.S. Reg. 1011001).
15

16

17         (5)   Plaintiff is the owner of a HUSTLER TV trademark that was
18
           registered on October 25, 2005 for “[c]able, satellite, television and video-
19
           on-demand (VOD) broadcasting” in International Class 38 (U.S. Reg.
20

21         3008950).
22

23

24         (6)   Plaintiff is the owner of a HUSTLER trademark that was registered
25
           on January 28, 2003 for “men's and women's jewelry, namely, rings,
26

27
           necklaces, bracelets, [ watches ]” in International Class 14 and “glassware,

28         namely, shot glasses, mugs, beer steins” in International Class 21 (U.S.


                          FINAL PRETRIAL CONFERENCE ORDER
                                                4
     Case 2:16-cv-00166-FFM Document 89 Filed 08/29/18 Page 5 of 15 Page ID #:1593



 1
           Reg. 2679483).
 2

 3

 4         (7)   Plaintiff is the owner of a HUSTLER trademark that was registered
 5
           on December 4, 2007 for “[g]arments for pets” in International Class 18
 6

 7         (U.S. Reg. 3349195).
 8

 9

10
           (8)   Plaintiff is the owner of a HUSTLER trademark that was registered

11         on February 15, 2011 for “[m]otorcycle helmets” in International Class 9.
12
           (U.S. Reg. 3918404).
13

14

15
           (9)   Plaintiff is the owner of a HUSTLER trademark that was registered
16

17         on December 24, 2013 for “[e]yewear, namely, sunglasses; Protective gear
18
           for motorcycle riding, namely, motorcycle gloves for protecting hands in
19
           an accident and motorcycle goggles” in International Class 9. (U.S. Reg.
20

21         4453481).
22

23

24         (10) Plaintiff is the owner of a HUSTLER trademark that was registered
25
           on June 18, 2013 for “[b]ackpacks; Duffel bags; Handbags; Messenger
26

27
           bags; Purses; Tote bags; Travel bags; Wallets” in International Class 18.

28         (U.S. Reg. 4354035).


                         FINAL PRETRIAL CONFERENCE ORDER
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     Case 2:16-cv-00166-FFM Document 89 Filed 08/29/18 Page 6 of 15 Page ID #:1594



 1

 2
           (11) Defendant Lee Keith Brett (“Defendant”) is an individual that
 3

 4         resides in Clay Center, Kansas.
 5

 6

 7         (12) Defendant operates a website with the domain name
 8
           <AmericanHustlerClothing.com>
 9

10

11         (13) Defendant purchased the <AmericanHustlerClothing.com> domain
12
           name on or about May 7, 2015.
13

14

15
           (14) Defendant filed a trademark application on June 10, 2015, for an
16

17         AMERICAN HUSTLER service mark (Serial No. 86657943) for “[o]n-
18
           line retail stores services featuring clothing and billiard products” in
19
           International Class 35.
20

21

22
           (15) During the application process, Defendant disclaimed any exclusive
23

24         right to use “AMERICAN” apart from the mark as shown.
25

26

27
           (16) On October 22, 2015, the United States Patent and Trademark

28         Office (“USPTO”) issued an Office Action refusing Defendant’s


                          FINAL PRETRIAL CONFERENCE ORDER
                                               6
     Case 2:16-cv-00166-FFM Document 89 Filed 08/29/18 Page 7 of 15 Page ID #:1595



 1
           AMERICAN HUSTLER application based upon the likelihood of
 2
           confusion with three of Plaintiff’s Registered Marks (specifically, U.S.
 3

 4         Reg. Nos. 2689852, 4268341, and 4312312).
 5

 6

 7         (17) On December 8, 2015, Defendant responded to the October 22, 2015
 8
           Office Action.
 9

10

11         (18) On January 10, 2016, the USPTO issued a Final Office Action again
12
           refusing Defendant’s AMERICAN HUSTLER application based upon the
13

14         likelihood of confusion with Plaintiff’s Registered Marks (specifically,
15
           U.S. Reg. Nos. 2689852, 4268341, and 4312312).
16

17

18
           (19) On June 22, 2016, prior to this preliminary conclusion being fully
19
           adjudicated, the USPTO suspended action on Defendant’s AMERICAN
20

21         HUSTLER application pending termination of this civil proceeding and the
22
           refusal for likelihood of confusion with Plaintiff’s Registered Marks was
23

24         continued as non-final.
25

26

27
           (20) LFP, IP is not the exclusive trademark owner of the word “hustler.”

28         For example, Cigar Hustler reg. no. 4337913 is not owned by LFP, IP.


                         FINAL PRETRIAL CONFERENCE ORDER
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     Case 2:16-cv-00166-FFM Document 89 Filed 08/29/18 Page 8 of 15 Page ID #:1596



 1
           (21) LFP, IP has not conducted a survey.
 2

 3

 4          6.     The following facts, though stipulated, shall be without prejudice to
 5
      any evidentiary objection: N/A
 6

 7

 8

 9

10
            7.     Plaintiff:
11

12         (a)     Plaintiff plans to pursue the following claims against the following
13
      defendant:
14

15
           Claim 1:      Defendant infringed Plaintiff’s Registered Trademark(s) by

16         promoting, advertising, preparing to distribute and/or selling “American
17
           Hustler” branded clothing items (15 U.S.C. § 1114(a)).
18

19

20
           Claim 2:      Defendant, in connection with the sale of t-shirts, used the
21

22
           term “American Hustler” in a false or misleading way which is likely to
23         cause confusion, or to cause mistake, or to deceive as to the affiliation,
24
           connection or association between Defendant and Plaintiff, or as to the
25

26         origin, sponsorship or approval of Defendant’s t-shirts or commercial
27
           activities by Plaintiff (15 U.S.C. § 1125(a)).
28




                           FINAL PRETRIAL CONFERENCE ORDER
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     Case 2:16-cv-00166-FFM Document 89 Filed 08/29/18 Page 9 of 15 Page ID #:1597



 1

 2

 3

 4               The elements required to establish Plaintiff’s claims are:
 5
           Claim 1:     Infringement of Plaintiff’s Registered Trademark
 6

 7         A trademark is any word, name, symbol, device, or any combination
 8
           thereof, used by a person to identify and distinguish that person’s goods
 9

10
           from those of others and to indicate the source of the goods.

11         In this case, Plaintiff contends that the Defendant has infringed Plaintiff’s
12
           trademark(s). Plaintiff has the burden of proving by a preponderance of
13

14         the evidence that:
15
           (1)   HUSTLER® and/or HUSTLER HOLLYWOOD® are valid,
16

17         protectable trademarks;
18
           (2)   Plaintiff      owns    the       HUSTLER®       and/or       HUSTLER
19
           HOLLYWOOD® trademarks; and
20

21         (3)   Defendant used the “American Hustler” mark on his goods, without
22
           the consent of the Plaintiff, in a manner that is likely to cause confusion
23

24         among ordinary purchasers as to the source of the goods.
25
           AUTHORITY: Ninth Circuit Manual of Model Jury Instructions,
26

27
           §15.1[modified] and §15.5 [modified].

28




                         FINAL PRETRIAL CONFERENCE ORDER
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     Case 2:16-cv-00166-FFM Document 89 Filed 08/29/18 Page 10 of 15 Page ID #:1598



 1
           Claim 2:      Federal Unfair Competition / False Designation of Origin
 2
           Plaintiff has the burden of proving by a preponderance of the evidence
 3

 4         that:
 5
           (1)      The HUSTLER® and/or HUSTLER HOLLYWOOD® trademarks
 6

 7         are valid, protectable marks;
 8
           (2)     Plaintiff owns the claimed trademarks;
 9

10
           (3)     Defendant used the “American Hustler” mark, without the consent

11         of Plaintiff, in a manner that is likely to cause confusion among ordinary
12
           consumers as to the source, sponsorship, affiliation or approval of the
13

14         goods.
15
           AUTHORITY: 15 U.S.C. §1125 (a)
16

17

18

19
           In brief, the key evidence Plaintiff relies on for each of the claims is:
20

21         1.      Plaintiff’s Federal Trademark and Service Mark Registrations
22
           (Plaintiff owns various HUSTLER® trademark registrations for various
23

24         goods and services, including but not limited to an incontestable
25
           registration for apparel items, including shirts. Plaintiff also owns the
26

27
           HUSTLER HOLLYWOOD® service mark for a chain of retail stores that

28         feature various items for sale, including but not limited to HUSTLER®


                          FINAL PRETRIAL CONFERENCE ORDER
                                               10
     Case 2:16-cv-00166-FFM Document 89 Filed 08/29/18 Page 11 of 15 Page ID #:1599



 1
           branded t-shirts and HUSTLER® branded merchandise).
 2

 3

 4         2.    Examples of Plaintiff LFP’s T-Shirts (various designs that Plaintiff
 5
           has sold over the years, some that feature the American flag and the slogan
 6

 7         “Hardcore Since ‘74”).
 8

 9

10
           3.    Defendant’s various T-Shirt Designs (among other things,

11         Defendant’s t-shirt designs that feature “Hustler” prominently, designs that
12
           feature the year 1974, and using words such “original”).
13

14

15
           4.    The USPTO’s rejection of Defendant’s “American Hustler” service
16

17         mark application on a Section 2(d) likelihood of confusion refusal basis
18
           with respect to several registrations owned by Plaintiff.
19

20

21         5.    Defendant’s website that features various “American Hustler” t-shirt
22
           designs.
23

24

25

26

27
           Defendant:

28         (a)          Defendant plans to pursue the following counterclaims and


                         FINAL PRETRIAL CONFERENCE ORDER
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     Case 2:16-cv-00166-FFM Document 89 Filed 08/29/18 Page 12 of 15 Page ID #:1600



 1
       affirmative defenses:
 2
      Pursuant to the meet and confer process with LFP’s counsel, and based in
 3

 4    particular on LFP’s counsel’s representations that it will not pursue a claim for
 5
      damages, and has withdrawn and will not pursue its Third and Fourth Claims
 6

 7    asserted in the Complaint, Mr. Brett will not pursue at trial the following defenses
 8
      previously asserted in Mr. Brett’s answer, affirmative defenses and counterclaims
 9

10
      are withdrawn: 1) estoppel; 2) license; 3) laches; 4) waiver; 5) failure to state a

11    claim; 6) mitigation of damages.       On August 3, Mr. Brett withdrew two
12
      counterclaims asserted in the Answer. See ECF No. 30.
13

14

15
            (b)    The elements required to establish Defendant’s counterclaims and
16

17     affirmative defenses are: See response to (a) above.
18

19

20
            (c)    In brief, the key evidence Defendant relies on for each counterclaim
21

22
      and affirmative defense is: See response to (a) above.
23

24
             8.    In view of the admitted facts and the elements required to establish
25

26     the claims, counterclaims and affirmative defenses, the following issues remain
27
       to be tried: (1) whether Defendant used the “American Hustler” mark on his
28




                           FINAL PRETRIAL CONFERENCE ORDER
                                               12
     Case 2:16-cv-00166-FFM Document 89 Filed 08/29/18 Page 13 of 15 Page ID #:1601



 1
       goods, without the consent of the Plaintiff, in a manner that is likely to cause
 2
       confusion among ordinary purchasers as to the source of the goods; and (2)
 3

 4     Defendant used the “American Hustler” mark, without the consent of Plaintiff,
 5
       in a manner that is likely to cause confusion among ordinary consumers as to the
 6

 7     source, sponsorship, affiliation or approval of the goods
 8

 9

10

11           9.    All discovery is complete.
12

13

14

15
             10. All disclosures under F.R.Civ.P. 26(a)(3) have been made.

16           The joint exhibit list of the parties has been filed under separate cover as
17
       required by L.R. 16-6.1.
18

19           Pursuant to the Civil Trial Order issued on June 26, 2018, the parties shall
20
       meet and confer and prepare the Final Pre-Trial Exhibit Stipulation for filing on
21

22
       September 25, 2018.
23

24
             11. Witness lists of the parties have been filed with the Court.
25

26           Only the witnesses identified in the lists will be permitted to testify (other
27
       than solely for impeachment).
28




                           FINAL PRETRIAL CONFERENCE ORDER
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     Case 2:16-cv-00166-FFM Document 89 Filed 08/29/18 Page 14 of 15 Page ID #:1602



 1

 2
             12. The following law and motion matters and motions in limine, and no
 3

 4     others, are pending or contemplated: N/A.
 5

 6

 7

 8
             13. Bifurcation of the following issues for trial is ordered: None.
 9

10

11           14. The foregoing admissions having been made by the parties, and the
12
       parties having specified the foregoing issues remaining to be litigated, this Final
13

14     Pretrial Conference Order shall supersede the pleadings and govern the course
15
       of the trial of this cause, unless modified to prevent manifest injustice.
16

17

18

19     Dated: ___________, 2018.
20

21

22
                                              __________________________________
                                              U.S. DISTRICT MAGISTRATE JUDGE
23

24

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                           FINAL PRETRIAL CONFERENCE ORDER
                                                14
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 1

 2
       Approved as to form and content.
 3

 4    Attorneys for Plaintiff LFP IP, LLC:
 5

 6
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 7

 8
       By: /s/Jonathan W. Brown
            Jonathan W. Brown, Esq.
 9

10
       Attorneys for Defendant Lee Keith Brett:
11
       McDERMOTT WILL & EMERY LLP
12

13
       By: _/s/ Jodi L. Benassi
14
            Jodi L. Benassi, Esq.
15

16

17

18

19                            SIGNATURE ATTESTATION
20          Pursuant to Local Rule 5-4.3.4, I hereby attest that all other signatories
21    listed, and on whose behalf the filing is submitted, concur in the filing’s content
22    and have authorized the filing.
23                                              By: /s/Jonathan W. Brown
24                                                  Jonathan W. Brown
                                                    Attorney for Plaintiff
25                                                  LFP IP, LLC
26

27

28




                           FINAL PRETRIAL CONFERENCE ORDER
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